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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE DIISOCYANATES ANTITRUST                 Master Docket Misc. No. 18-1001
   LITIGATION
                                                 MDL No. 2862
   This document relates to: All Actions
                                                 Honorable Donetta W. Ambrose




        MOTION TO WITHDRAW APPEARANCE OF JONATHAN R. MYERS

       Defendant Covestro LLC, by and through undersigned counsel, requests an order

withdrawing the appearance of Jonathan R. Myers because he is leaving his position at Simpson

Thacher & Bartlett LLP. Covestro LLC will continue to be represented by John Terzaken and

Abram Ellis of Simpson Thacher & Bartlett LLP, 900 G Street NW, Washington, D.C. 20001.

Dated: July 30, 2021                          Respectfully submitted,

                                              /s/ Jonathan R. Myers
                                              Jonathan R. Myers [NY 5428222]
                                              SIMPSON THACHER & BARTLETT
                                              900 G Street, N.W.
                                              Washington, DC 20001
                                              Telephone: (202) 636-5500
                                              Facsimile: (202) 636-5502
                                              jonathan.myers@stblaw.com




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 30, 2021, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

counsel of record.



                                           By: /s/ Jonathan Myers
